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 16                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 17
 18                                               No. 2:20-cv-11293-SVW-JPRx
 19   CALIFORNIA DEPARTMENT OF
      TOXIC SUBSTANCES CONTROL                    PLAINTIFFS’ OPPOSITION TO
 20   and the TOXIC SUBSTANCES                    DEFENDANT NL INDUSTRIES,
      CONTROL ACCOUNT,                            INC.’S MOTION FOR PARTIAL
 21
                                                  SUMMARY JUDGMENT
 22                                 Plaintiffs,
                                                  Judge:        Stephen V. Wilson
 23                                               Action Filed: December 14, 2020
                   v.
 24                                               Hearing Date: July 11, 2022, 9:30 am
      NL INDUSTRIES, INC., et al.,
 25
 26                               Defendants.
 27
 28
       PLAINTIFFS’ OPPOSITION TO DEFENDANT NL INDUSTRIES, INC.’S MOTION FOR PARTIAL
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  1   I.     Introduction
  2          NL Industries, Inc.’s (“NL”) partial summary judgment motion (“Motion”)
  3   misinterprets the Comprehensive Environmental Response, Compensation, and
  4   Liability Act (“CERCLA”) case law and ignores the sound reasoning in this Court’s
  5   order denying NL’s motion to dismiss. ECF No. 103.
  6          NL argues that Pakootas v. Teck Cominco Metals, LTD. (Pakootas III), 830
  7   F.3d 975 (9th Cir. 2016), precludes Plaintiffs from recovering response costs
  8   incurred because of airborne emissions from the Vernon Plant. ECF No. 369 (Mot.)
  9   at 3–7. NL also insists the CERCLA “facility,” the approximately 1.7-mile-radius
 10   area around the Vernon Plant referred to as the Preliminary Investigation Area
 11   (“PIA”), should be split into two. Id. at 7–17. Alternatively, NL appears to argue that
 12   if the PIA remains a single facility, NL cannot be held liable as a former owner or
 13   operator because it did not own or operate the residential properties in the PIA. Id. at
 14   7–8.
 15          These arguments lack merit. NL misreads Pakootas III by “conflating” two
 16   distinct statutory terms: “disposal” and “release.” ECF No. 103 at 9. And NL fails to
 17   meet its summary judgment burden because NL does not show an absence of
 18   evidence that lead and other hazardous substances were disposed at the Vernon Plant
 19   while NL and its predecessor owned and operated it. Because NL submits no
 20   evidence undermining the Court’s prior analysis of Pakootas III, this Motion
 21   amounts to a disfavored reconsideration motion.
 22          Similarly, NL’s arguments about splitting the PIA into two “facilities” do not
 23   warrant partial summary judgment. However this Court defines the PIA, Plaintiffs’
 24   full CERCLA cost recovery claim survives against NL. NL’s attempt to evade
 25   liability also fails because neither CERCLA nor the case law requires a defendant to
 26   have owned or operated an entire facility for liability to attach.
 27
 28
       PLAINTIFFS’ OPPOSITION TO DEFENDANT NL INDUSTRIES, INC.’S MOTION FOR PARTIAL           1
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  1           This Court should deny partial summary judgment to NL and the other
  2   Defendants that have joined this Motion. See ECF No. 425 (notice of joinder).1
  3   II.     This Court’s Order Denying NL’s Motion to Dismiss
  4           Plaintiffs brought a CERCLA cost recovery claim and other claims against
  5   Defendants including NL. ECF No. 1. NL moved to dismiss, raising the same two
  6   arguments it re-raises in the Motion. ECF No. 49. First, “NL argue[d] that the Ninth
  7   Circuit’s decision in [Pakootas III] require[d] dismissal of [its] CERCLA claim to
  8   the extent it relies on ‘passive transport of air emissions.’” ECF No. 103 at 9. This
  9   Court rebuffed that argument because “it [is] quite clear that the holding of Pakootas
 10   III does not preclude Plaintiff’s claims even to the extent they rely on aerial
 11   migration of hazardous substances from the Vernon Plant.” Id. at 10.
 12           Second, NL insisted it was improper for Plaintiffs to treat the PIA as “a single
 13   facility under CERCLA.” Id. at 12. The Court stressed that “CERCLA provides an
 14   extraordinarily broad definition of ‘facility,’” id., and then deferred to Plaintiffs’
 15   definition of the “facility” as including the entire PIA, id. at 13.
 16   III.    Summary Judgment Standard
 17           Under Federal Rule of Civil Procedure 56(a), summary judgment is
 18   appropriate “if the movant shows that there is no genuine dispute as to any material
 19   fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).
 20           First, the moving party must “‘show[]’—that is, pointing out to the district
 21   court—that there is an absence of evidence to support the nonmoving party’s case.”
 22   Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986). Next, if the moving party makes
 23   their initial showing, “the non-moving party [must] designate specific facts
 24   demonstrating the existence of genuine issues for trial. In re Oracle Corp. Sec.
 25   Litig., 627 F.3d 376, 387 (9th Cir. 2010). A court must “view the evidence in the
 26
 27   1
       The Defendants that join the Motion do not advance additional arguments. See
 28   ECF No. 425. Therefore, they also are not entitled to summary judgment.
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  1   light most favorable to the nonmoving party, drawing all reasonable inferences in his
  2   favor.” Horphag Research Ltd. v Garcia, 475 F.3d 1029, 1035 (9th Cir. 2007).
  3         Here, the Motion is based mostly on incorrect legal arguments, and NL does
  4   not argue that Plaintiffs’ CERCLA claim fails because of an absence of evidence.
  5   See generally ECF No. 369.
  6   IV.   Argument
  7         The Motion raises two main arguments, both unmeritorious. First, NL argues
  8   Pakootas III precludes imposing CERCLA liability on NL for DTSC’s response
  9   costs incurred in connection with airborne emissions from the Vernon Plant. See
 10   ECF No. 369 at 2–7. Second, NL insists the PIA should be split into two facilities:
 11   the Vernon Plant and the residential areas in the PIA where DTSC took some
 12   response actions. Id. at 7–17. NL argues that if the residential areas are a separate
 13   facility, NL is not liable for DTSC’s response actions in the residential areas because
 14   NL did not own or operate residential properties. Alternatively, if the PIA is one
 15   facility, NL suggests it is not liable for DTSC’s response costs because NL never
 16   owned or operated the entire PIA. See id. at 8. None of these arguments justifies
 17   partial summary judgment.
 18         A.     CERCLA Allows Plaintiffs to Recover Response Costs Incurred
                   Because of Airborne Emissions from the Vernon Plant.
 19
 20         Nothing in Pakootas III bars Plaintiffs from recovering response costs
 21   incurred because of airborne emissions from the Vernon Plant. In arguing otherwise,
 22   NL reprises theories this Court rejected when denying NL’s motion to dismiss and
 23   continues to “conflat[e] the terms ‘disposal’ and ‘release’ as they are used in section
 24   107(a) of CERCLA.” ECF No. 103 at 9.
 25                1.     Background on CERCLA
 26         A CERCLA claim has four elements. First, the plaintiff must show that “the
 27   site in question is a facility.” United States v. Sterling Centrecorp Inc., 977 F.3d 750,
 28   756 (9th Cir. 2020) (quotations omitted). Second, the plaintiff must show that “a
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  1   release or threatened release of a hazardous substance has occurred.” Id. (quotations
  2   omitted) (emphasis added). Third, the plaintiff must show that “such release or
  3   threatened release will require the expenditure of response costs.” See id.
  4   (quotations omitted) (emphasis added). Fourth, the plaintiff must show that the
  5   defendant is a “covered person[]” subject to CERCLA liability. Id. “In this case,
  6   Plaintiff seeks to hold NL liable as a former owner or operator.” ECF No. 103 at 11.
  7   “A former owner or operator of a facility is a [covered person] if it ‘at the time of
  8   disposal of any hazardous substance owned or operated any facility at which such
  9   hazardous substances were disposed of.’” Id. at 9 (quoting 42 U.S.C. § 9607(a)(2)).
 10                 2.     “Disposal” versus “release”
 11          The terms “disposal” and “release” address “separate elements” of a CERCLA
 12   claim. See ECF No. 103 at 9.
 13          “Disposal” is used to determine whether a defendant is a covered person who
 14   may be held liable (element one). See Sterling Centrecorp Inc., 977 F.3d at 756. By
 15   contrast, “release” is used to determine the scope of liability (elements two and
 16   three). Id. “The question of whether a defendant is a [covered person] is separate
 17   from whether liability attaches and to what extent.” ECF No. 103 at 9 (citing
 18   Pakootas v. Teck Cominco Metals, LTD. (Pakootas I), 452 F.3d 1066, 1073–74 (9th
 19   Cir. 2006)). “So long as there is some occurrence constituting a disposal while a
 20   defendant owned or operated a facility, the defendant can be liable for subsequent
 21   releases as an owner or operator, which may involve a broader range of passive
 22   migration than the disposals which make a defendant an owner or operator.” Id. at
 23   11 (citing Pakootas I, 452 F.3d at 1075).
 24          The distinction between “disposal” and “release” is important because
 25   “‘release’ is broader . . . than the term ‘disposal.’” Id. at 10.
 26          The term “release” means any spilling, leaking, pumping, pouring,
 27          emitting, emptying, discharging, injecting, escaping, leaching,
 28          dumping, or disposing . . . .
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  1   42 U.S.C. § 9601(22). Importantly, “release” includes “any . . . emitting.” Id.
  2   (emphasis added). By contrast:
  3         The term “disposal” means the discharge, deposit, injection, dumping,
  4         spilling, leaking, or placing of any solid waste or hazardous waste into
  5         or on any land or water so that such solid waste or hazardous waste or
  6         any constituent thereof may enter the environment or be emitted into
  7         the air or discharged into any waters, including ground waters.
  8   42 U.S.C. § 6903(3); see id. § 9601(30) (“The term[] ‘disposal’ . . . shall have the
  9   meaning provided in [42 U.S.C. § 6903(3)].”).
 10         In short, under CERCLA’s plain text, NL is a covered person subject to
 11   CERCLA liability if hazardous substances were disposed while NL owned
 12   and operated the Vernon Plant. If NL is a covered person, NL is liable for
 13   response costs incurred in connection with releases including airborne
 14   emissions.
 15                3.    NL misreads Pakootas III.
 16         NL misreads Pakootas III as holding that Plaintiffs may not recover for
 17   response costs incurred because of airborne emissions from the Vernon Plant.
 18         Pakootas III held only that the term “disposal” does not include “aerial
 19   depositions” where an airborne pollutant deposits onto the ground. See 830 F.3d at
 20   985. Consequently, the defendant there was not an “arranger,” a type of covered
 21   person, subject to CERCLA liability. Id. “The question for the Court in Pakootas III
 22   was, for purposes of arranger status, whether the term ‘disposal’ encompassed the
 23   emission of hazardous substances subsequently ‘deposited . . . by the wind’ . . . .”
 24   ECF No. 103 at 10 (quoting Pakootas III, 830 F.3d at 983). The Ninth Circuit
 25   “answer[ed] no” because “disposal” does “not includ[e] the gradual spread of
 26   contaminants without human intervention.” Pakootas III, 830 F.3d at 978. “The
 27
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   1   court did not limit or otherwise interpret CERCLA’s definition of ‘release.’” ECF
   2   No. 103 at 11.2
   3           The other cases NL cites also do not support its flawed interpretation of
   4   Pakootas III. ECF No. 369 at 6–7 (citing Carson Harbor Vill., Ltd. v. Unocal Corp.,
   5   270 F.3d 863 (9th Cir. 2001) (en banc); Ctr. for Cmty. Action & Envtl. Justice v.
   6   BNSF Ry. Co., 764 F.3d 1019 (9th Cir. 2014); Pakootas v. Teck Cominco Metals,
   7   Ltd. (Pakootas IV), 905 F.3d 565 (9th Cir. 2018)).
   8           Carson Harbor Village, Ltd. v. Unocal Corp., 270 F.3d 863, 879, 881 (9th
   9   Cir. 2001) (en banc), stands for the limited propositions that “the gradual passive
  10   migration of contamination through the soil” does not constitute a “disposal,” and
  11   that “other passive migration” of a hazardous substance might sometimes constitute
  12   a “disposal.” Carson Harbor Village did not hold that “release” excludes airborne
  13   emissions and therefore provides no support for NL here. Id. at 881–82. In fact, the
  14   Ninth Circuit stressed the need to follow “the plain meaning of the statute’s text,” id.
  15   at 884, which defines “release” to include “emitting,” 42 U.S.C. § 9601(22).
  16
  17   2
        To justify its misreading of Pakootas III, NL misquotes the opinion by omitting
  18   key language. Specifically, NL omits the italicized language in the following quote:
  19
               When a smelter emits lead, arsenic, cadmium, and mercury compounds
  20           through a smokestack and those compounds contaminate land or water
  21           downwind, can the owner-operator of the smelter be held liable for
               cleanup costs and natural resource damages under the Comprehensive
  22           Environmental Response, Compensation, and Liability Act
  23           (“CERCLA”)? All parties agree the answer turns on whether the smelter
               owner-operator can be said to have arranged for the “disposal” of those
  24           hazardous substances within the meaning of CERCLA. Bound by a
  25           previous en banc case’s interpretation of “deposit”—the only theory of
               “disposal” urged by Plaintiffs in this interlocutory appeal—as not
  26           including the gradual spread of contaminants without human
  27           intervention, we must answer no.

  28   Pakootas III, 830 F.3d at 978; see ECF No. 369 at 1 (misquotation).
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   1           Likewise, Center for Community Action and Environmental Justice v. BNSF
   2   Railway Co., 764 F.3d 1019 (9th Cir. 2014), does not help NL. The court there “held
   3   that emitting diesel particulate matter into the air and allowing it to be ‘transported
   4   by wind and air currents onto the land and water’ did not constitute ‘disposal’ of
   5   waste within the meaning of the Resource Conservation and Recovery Act,” which
   6   uses the same definition of “disposal” as CERCLA. See Pakootas III, 830 F.3d at
   7   980 (quoting Ctr. for Cmty. Action & Envtl. Justice, 764 F.3d at 1023–24).
   8           Finally, NL’s reliance on Pakootas v. Teck Cominco Metals, LTD. (Pakootas
   9   IV), 905 F.3d 565 (9th Cir. 2018), also is misplaced. NL suggests that Pakootas IV
  10   reconsidered whether the defendant could be held liable for airborne emissions. See
  11   ECF No. 369 at 13. This is incorrect. Pakootas IV evaluated appellate and personal
  12   jurisdiction, 905 F.3d at 574–78, whether certain categories of costs were
  13   recoverable, id. at 578–82, the availability of a fee award, id. at 582–86, and
  14   divisibility, id. at 586–96. Pakootas IV is irrelevant to the statutory interpretation
  15   questions at issue here.3
  16           The absence of authority supporting NL’s argument is striking. In fact, the
  17   only other court that has closely examined Pakootas III held:
  18           Gibson seems to suggest that CERCLA is inapplicable [to] “airborne
  19           releases.” Gibson is simply wrong. Gibson’s misunderstanding appears
  20           to be premised on its misreading of Pakootas v. Teck Cominco Metals
  21           Ltd., 830 F.3d 975, 979 (9th Cir. 2016).
  22
  23   3
        Elsewhere, NL refers to the extraterritoriality issues the Ninth Circuit addressed in
  24   an earlier decision, Pakootas I, 452 F.3d 1066. ECF No. 369 at 7. But any
  25   extraterritoriality issues did not affect the Ninth Circuit’s interpretation of “release”
       and “disposal” in Pakootas III. See 830 F.3d at 983–84. NL also refers to a different
  26   claim addressed at a different phase of the long-running litigation that addressed
  27   dumping industrial waste into a river, not emitting hazardous substances to the air.
       See ECF No. 369 at 6. The river dumping claim also did not affect the Ninth
  28   Circuit’s analysis in Pakootas III. See 830 F.3d at 983–84.
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   1           In Pakootas, the Ninth Circuit addressed the definition of “disposal” of
   2           hazardous    substances    within   the     meaning   of   42    U.S.C.
   3           § 9607(a)(3). . . . The Pakootas court explained that “disposal”—as
   4           opposed to release—of hazardous substances does not include an
   5           “aerial deposition” or “emission.” Pakootas, 830 F.3d at 983–984.
   6           Pakootas does not stand for the proposition that CERCLA does not
   7           apply to any airborne releases.
   8   United States v. Gibson Wine Co., No. 1:15-cv-1900-AWI, 2017 WL 1064658, at *9
   9   n.9 (E.D. Cal. Mar. 20, 2017) (citation omitted).
  10           The lack of support reflects NL’s vast departure from CERCLA’s plain text
  11   and broad remedial purpose. NL contends CERCLA imposes a general prohibition
  12   on recovering response costs incurred because of airborne emissions. Nothing in
  13   CERCLA’s text suggests such a limitation, and courts have routinely adjudicated
  14   claims for the recovery of such response costs.4 Also, courts interpret CERCLA with
  15   an understanding of the law’s broad remedial purpose. See 3550 Stevens Creek
  16   Assocs. v. Barclays Bank of Cal., 915 F.2d 1355, 1363 (9th Cir. 1990) (“We agree
  17   that the Act is to be given a broad interpretation to accomplish its remedial goals.”).
  18   That purpose would be undermined if parties like NL could evade liability for
  19   response costs necessitated by airborne emissions.
  20
  21
  22   4
         E.g., A & W Smelter & Refiners, Inc. v. Clinton, 146 F.3d 1107, 1111 (9th Cir.
  23   1998) (windblown particle emissions were “unquestionably a release”); Amoco Oil
       Co. v. Borden, Inc., 889 F.2d 664, 669 (5th Cir. 1989) (“gas emanating from
  24   [certain] radionuclides constitutes a release” because “‘release’ should be construed
  25   broadly”); United States v. Metate Asbestos Corp., 584 F. Supp. 1143, 1148–49 (D.
       Ariz. 1984) (finding a threatened release where asbestos fibers were disposed in such
  26   a way that they “could be released in a light wind”); Cyprus Amax Minerals Co. v.
  27   TCI Pac. Commc’ns, Inc., No. 11-CV-0252-CVE-PJC, 2017 WL 2662195, at *9
       (N.D. Okla. June 20, 2017) (“release” includes “direct air emissions from [a]
  28   smelting process”).
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   1                 4.    NL fails to meet its summary judgment burden.
   2         Turning to NL’s evidentiary burden on summary judgment, it is evident that
   3   NL falls far short. NL does not “show[],” see Celotex Corp., 477 U.S. at 325, that no
   4   disposals occurred at the Vernon Plant while NL owned and operated it, see
   5   generally ECF No. 369 (Mot.); ECF No. 369-1 (NL’s statement of uncontroverted
   6   facts). Therefore, Plaintiffs need not “designate specific facts demonstrating” a
   7   genuine issue of material fact that NL is a covered person under CERCLA. See In re
   8   Oracle Corp. Sec. Litig., 627 F.3d at 387.
   9         In any event, Plaintiffs have identified ample evidence that lead and other
  10   hazardous substances were dumped, spilled, and/or otherwise disposed to the
  11   ground, groundwater, and surface water at the Vernon Plant while NL and NL’s
  12   predecessor, Morris P. Kirk & Son., Inc. (“Kirk”), owned and operated it. Plaintiffs’
  13   Additional Facts ¶¶ 1–3 (NL succeeded to Kirk’s liabilities; while Kirk and/or NL
  14   owned the Vernon Plant, chemical spills were common, lead spilled onto the ground
  15   during smelting and refining, wastes including slag were dumped in pits, and there
  16   were numerous areas of the Vernon Plant that could likely released lead to soil,
  17   groundwater, and surface water). NL is therefore a covered person subject to
  18   CERCLA liability.
  19         NL fails to demonstrate any significant difference between this Motion and its
  20   motion to dismiss. To argue that things have changed since its last motion, NL
  21   identifies a few lines of testimony by Peter V. Ruttan, DTSC’s Rule 30(b)(6)
  22   witness. See ECF No. 369 at 2. Mr. Ruttan said that all the Vernon Plant lead that
  23   contaminated the residential areas where DTSC took some of its response actions
  24   came from airborne emissions. See id. at 2, 8. Mr. Ruttan’s testimony does not help
  25   NL. NL is liable as a former owner or operator because hazardous wastes were
  26   disposed to the soil, groundwater, and surface water while NL owned and operated
  27   the Vernon Plant. Plaintiffs may therefore recover response costs incurred in
  28   connection with airborne emissions from the Vernon Plant. And the law is settled
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   1   that air emissions are CERCLA “releases.” Pakootas III, 830 F.3d at 934; 42 U.S.C.
   2   § 9601(22).
   3           This Motion therefore distills to a “disfavored” motion to reconsider the
   4   Court’s order denying NL’s motion to dismiss. See Sanai v. McDonnell, No. 2:18-
   5   cv-05663-SVW-AGRx, 2018 WL 8731933, at *1 (C.D. Cal. July 11, 2018). This
   6   Court should reject NL’s Pakootas III argument.
   7                  5.    The other Defendants also fail to meet their summary
                            judgment burden.
   8
   9           The eight other Defendants that join NL’s Motion do not offer any additional
  10   evidence or argument. Like NL, these eight Defendants fail to “show[],” see Celotex
  11   Corp., 477 U.S. at 325, that they were uninvolved in disposals at the Vernon Plant,
  12   see ECF No. 425 (notice of joinder). Therefore, Plaintiffs need not identify any
  13   evidence to defeat the Motion as to these eight Defendants.
  14           What’s more, seven of the joining Defendants5 face an additional barrier to
  15   partial summary judgment. These seven Defendants are not former owners or
  16   operators like NL, but rather arrangers or transporters. See ECF No. 1 (Compl.)
  17   ¶¶ 21–40. In pertinent part, a person can be held liable as an arranger or transporter
  18   to the extent they were involved in the “disposal or treatment” of hazardous
  19   substances. See 42 U.S.C. § 9607(a)(3) (arranger); id. § 9607(a)(4) (transporter). The
  20   seven Defendants have failed to show that they were uninvolved in “treatment” at
  21
  22
       5
  23     The seven are Clarios, LLC, International Metals Ekco, Ltd., Kinsbursky Brothers
       Supply, Inc., Quemetco, Inc., Ramcar Batteries, Inc., Trojan Battery Company,
  24   LLC, and Oregon Tool, Inc. The eighth defendant, Gould Electronics, Inc.
  25   (“Gould”), is—like NL—a former owner and operator of the Vernon Plant. Gould
       fails to meet its partial summary judgment burden for the same reasons NL fails to
  26   meet its burden. And Plaintiffs have identified ample evidence that lead and other
  27   hazardous substances were dumped, spilled, and/or otherwise disposed to the
       ground, groundwater, and surface water at the Vernon Plant while Gould owned and
  28   operated it. Plaintiffs’ Additional Fact ¶ 4.
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   1   the Vernon Plant. This is a sufficient and independent reason to deny partial
   2   summary judgment.
   3           B.     NL’s Arguments About CERCLA “Facilities” Do Not Warrant
                      Summary Judgment.
   4
   5           NL believes it is entitled to summary judgment because the PIA should not be
   6   considered a single CERCLA “facility.” NL insists the Vernon Plant should be
   7   treated as one facility, and the residential properties in the PIA where DTSC took
   8   some response actions should be treated as another. See ECF No. 369 at 13–14.
   9   NL’s argument that it never owned or operated in the residential areas of the PIA
  10   does not justify partial summary judgment. Even if the Court defines the residential
  11   areas as a separate facility, Plaintiffs’ CERCLA cost recovery claim for response
  12   costs in the residential areas would survive.
  13           Alternatively, NL argues that even if the entire PIA is considered as a single
  14   facility, NL cannot be held liable because it never owned or operated the entire PIA.
  15   NL’s argument is squarely foreclosed by precedent recognizing that CERCLA
  16   liability attaches to those who owned or operated only part of a facility.
  17                  1.    NL’s arguments about splitting the PIA into two “facilities”
                            do not justify partial summary judgment.
  18
  19           Even if this Court splits the PIA into two facilities, NL would not be entitled
  20   to partial summary judgment. Plaintiffs’ CERCLA cost recovery claim for response
  21   costs in the residential areas would survive against NL and the other Defendants.
  22           NL does not dispute that—at minimum—the Vernon Plant is a facility.6 Under
  23   CERCLA’s plain terms, any costs Plaintiffs incurred in response to releases or
  24
  25
  26   6
         Nor can NL. Among other things, “‘facility’ means . . . any building, structure,
  27   installation, equipment, pipe or pipeline . . . , well, pit pond, lagoon,” or “any site or
       area where a hazardous substance has been deposited, stored, disposed of, or placed,
  28
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   1   threatened releases from the Vernon Plant are recoverable, regardless of whether the
   2   areas near the Vernon Plant are considered part of the facility. CERCLA states that a
   3   former owner or operator of a facility “from which there is a release, or a threatened
   4   release which causes the incurrence of response costs, of a hazardous substance,
   5   shall be liable for [] all costs of removal and remedial action incurred by . . . a
   6   State.” See 42 U.S.C. § 9607(a).7 NL objects that it did not own the PIA’s residential
   7   areas. See Mot. at 7–8. But CERCLA’s plain text provides for the recovery of “all
   8   costs,” 42 U.S.C. § 9607(a), not just those incurred at locations owned by a covered
   9   party.
  10            Therefore, NL’s arguments about splitting the PIA are pointless. Splitting the
  11   PIA would change nothing.8
  12
  13
       or otherwise come to be located.” 42 U.S.C. § 9201(9). The Vernon Plant certainly
  14   falls within this expansive definition.
  15
       7
         Plaintiffs note that defining the “facility” to encompass the entire PIA, including
  16   the Vernon Plant, is not inconsistent with CERCLA’s broad definition of “facility,”
  17   see 42 U.S.C. § 9601(9), and Ninth Circuit case law, see 3550 Stevens Creek
       Assocs., 915 F.2d at 1360 n.10 (“[T]he term ‘facility’ has been broadly construed by
  18   the courts.”). NL’s suggestion that the scope of a “facility” should be determined by
  19   where DTSC has incurred its greatest response costs is misplaced, e.g., ECF No. 369
       at 8 (urging the Court to focus on DTSC’s “cleanup plan[s]”), because CERCLA
  20   does not define “facility” by reference to where response costs were incurred, 42
  21   U.S.C. § 9601(9).
  22   8
         Plaintiffs briefly address three other baseless arguments NL raises in support of
  23   splitting the PIA.
               First, NL stokes fear that thousands of residential property owners will end up
  24   in this litigation, making it unmanageable. ECF No. 369 at 11. But Plaintiffs do not
  25   anticipate naming residential property owners as defendants. The few dozen third-
       party defendants NL has already named in this action may have defenses to liability,
  26   and the claims against them will likely be adjudicated at a later phase. If Defendants
  27   bring third-party contribution claims against numerous residential property owners,
       this Court could require Defendants to litigate those derivative claims later and/or in
  28
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   1                  2.     It is immaterial that NL did not own the entire PIA.
   2            Alternatively, NL appears to argue that if the PIA is one “facility,” NL cannot
   3   be a held liable as a former owner or operator because it never owned or operated
   4   the residential properties in the PIA. See ECF No. 369 at 8 (“NL must be the owner
   5   of the facility ‘at which’ the hazardous substances were disposed to incur liability
   6   . . . .”).
   7            If NL makes this argument, precedent forecloses it. In Burlington Northern
   8   and Santa Fe Railway Co. v. United States, 556 U.S. 599, 602–03 (2009), the
   9   Supreme Court considered the Arvin facility, which was located on two contiguous
  10   parcels: one owned by a chemical distributor, the other jointly owned by two
  11   railroads. Spills occurred on both parcels. Id. at 606 n.4 (majority of spills occurred
  12   on the chemical distributor’s parcel); id. at 617–18 (spills on the railroads’ parcel
  13   were smaller). The Court accepted that both railroads were owners, even though
  14   each railroad was only a partial owner of one of the two parcels that together
  15
  16   a separate action. See City of Wichita v. Aero Holdings, Inc., No. 98-1360-MLB,
       2000 WL 1480490, at *3 (D. Kan. Apr. 7, 2000); 42 U.S.C. § 9607(f)(1)–(2), (g)(2).
  17
               Second, NL’s proposal to split the PIA into two facilities—the Vernon Plant
  18   and the residential properties—implies that the industrial properties between the
  19   Vernon Plant and the residential properties are irrelevant to DTSC’s CERCLA
       claim. See, e.g., ECF No. 369 at 2–3. NL is wrong. This Court received evidence
  20   and testimony during the May trial showing that airborne lead emissions from the
  21   Vernon Plant contaminated the entire PIA, including the industrial areas. Plaintiffs’
       Additional Fact ¶ 5. And DTSC has taken response actions in the industrial areas:
  22   the agency has overseen sampling and cleanup efforts there. See id. ¶ 6.
  23           Third, NL contends Plaintiffs are judicially estopped by an argument DTSC
       made in an amicus brief it filed about seven years ago in Pakootas III. NL is wrong.
  24   Among other reasons, judicial estoppel applies only to parties. See Bock v.
  25   Washington, No. 21-35182, --- F.4th ----, 2022 WL 1447017, at *5 (9th Cir. May 9,
       2022). DTSC, as an amici, was not a party. See Miller-Wohl Co. v. Comm’r of Labor
  26   & Indus. 694 F.2d 203, 204 (9th Cir. 1982) (“An amicus curiae is not a party to
  27   litigation.”). Also, DTSC has not taken any positions “clearly inconsistent” with its
       amicus brief. See Bock, 2022 WL 1447017, at *5 (quoting New Hampshire v. Maine,
  28   532 U.S. 742, 750 (2001)).
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   1   comprised the facility. Id. at 613–15. Courts of appeal have reached similar
   2   conclusions. E.g., Chevron Mining Inc. v. United States, 863 F.3d 1261, 1270 (10th
   3   Cir. 2017) (“a person is liable if that person meets CERCLA’s definition of a PRP
   4   with respect to even a ‘portion of the total facility’” (quoting Burlington N. & Santa
   5   Fe Ry. Co., 556 U.S. at 618)).9
   6           Statutory interpretation confirms that NL’s partial-owner-and-operator
   7   argument is incorrect. CERCLA provides that former owners and operators include
   8   “any person who at the time of disposal of any hazardous substance owned or
   9   operated” a facility. See 42 U.S.C. § 9607(a)(2) (emphasis added). Congress’s use of
  10   the word “any” underscores that it intended former owners and operators to be
  11   defined broadly. See 3550 Stevens Creek Assocs., 915 F.2d at 1363 (CERCLA “is to
  12   be given a broad interpretation . . . .”). Moreover, interpreting CERCLA to impose
  13   liability on partial owners and operators would cohere with the statute’s financial
  14   responsibility provisions, which expressly contemplate that “a facility [may be]
  15   owned or operated by more than one person.” 42 U.S.C. § 9608(b)(4); see United
  16   States v. LKAV, 712 F.3d 436, 440 (9th Cir. 2013) (“We also look to similar
  17   provisions within the statute as a whole . . . to aid in interpretation.”). If adopted,
  18   NL’s partial-owner-and-operator theory would risk an absurd result: a polluter could
  19   evade CERCLA liability by splitting the ownership and operation of a facility
  20   among distinct corporate shells. See LKAV, 712 F.3d at 440 (“[S]tatutory
  21
  22
  23   9 Accord United States v. Rohm & Haas Co., 2 F.3d 1265, 1279–80 (3d Cir. 1993)
  24   (“A current owner of a facility may be liable under § 107 without regard to whether
  25   it is the sole owner or one of several owners. . . . [W]e do recognize that holding the
       owner of a small portion of the site jointly and severally liable for response costs for
  26   the whole site may involve some unfairness. However, the solution to this potential
  27   unfairness is apportionment and contribution in appropriate circumstances.”),
       overruled on other grounds, United States v. E.I. Dupont De Nemours & Co., Inc.,
  28   432 F.3d 161 (3d Cir. 2005).
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   1   interpretations which would produce absurd results are to be avoided.” (quotations
   2   omitted)). Surely, Congress did not intend that outcome.
   3          In sum, it is immaterial that NL did not own the residential properties in the
   4   PIA. CERCLA does not require a former owner or operator to have owned the
   5   entirety of a facility.
   6   V.     Conclusion
   7          NL is wrong that Pakootas III bars Plaintiffs from recovering response costs
   8   incurred because of air emissions from the Vernon Plant. NL’s Pakootas III
   9   arguments effectively seek reconsideration of this Court’s order denying NL’s
  10   motion to dismiss. See ECF No. 103. NL’s arguments about splitting the PIA into
  11   two facilities do not justify partial summary judgment because NL can be held liable
  12   for response costs incurred in the residential areas even if the PIA is split. Similarly,
  13   NL can be held liable even if the PIA is one facility, notwithstanding that NL never
  14   owned or operated the entire PIA. This Court should deny partial summary judgment
  15   to NL and the other Defendants that have joined this Motion.
  16
  17
  18   DATED: May 16, 2022                     Respectfully submitted,

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